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13
                                  UNITED STATES DISTRICT COURT
14
                                NORTHEN DISTRICT OF CALIFORNIA
15
       FELLOWSHIP OF CHRISTIAN                         Case No. 4:20-cv-02798-HSG
16     ATHLETES, an Oklahoma corporation,
       FELLOWSHIP OF CHRISTIAN
17     ATHLETES OF PIONEER HIGH                        STIPULATION STAYING
       SCHOOL, an unincorporated association,          PROCEEDINGS; ORDER
18     CHARLOTTE KLARKE, and
       ELIZABETH SINCLAIR,
19
                         Plaintiffs,
20       v.
21     SAN JOSE UNIFIED SCHOOL
       DISTRICT BOARD OF EDUCATION,
22     in its official capacity, NANCY
       ALBARRAN, in her official and
23     personal capacity, HERB ESPIRITU, in
       his official and personal capacity,
24     PETER GLASSER, in his official and
       personal capacity, and STEPHEN
25     McMAHON, in his official and personal
       capacity,
26                      Defendants.
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                                       STIPULATION AND ORDER
        Case 4:20-cv-02798-HSG Document 226 Filed 10/24/23 Page 2 of 4




1           Plaintiffs FELLOWSHIP OF CHRISTIAN ATHLETES, FELLOWSHIP OF CHRISTIAN

2    ATHLETES OF PIONEER HIGH SCHOOL, CHARLOTTE KLARKE, and ELIZABETH

3    SINCLAIR, and Defendants SAN JOSE UNIFIED SCHOOL DISTRICT BOARD OF

4    EDUCATION, NANCY ALBARRAN, HERB ESPIRITU, PETER GLASSER, and STEPHEN

5    McMAHON submit the following stipulation, and ask that the Court enter this stipulation as an

6    order of the Court.

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                                   STIPULATION AND ORDER
        Case 4:20-cv-02798-HSG Document 226 Filed 10/24/23 Page 3 of 4




1                                                 RECITALS

2           1.      On September 13, 2023, the United States Court of Appeals for the Ninth Circuit

3    issued its judgment in the appeal of this Court’s order denying a preliminary injunction.

4           2.      On October 5, 2023, the mandate of the United States Court of Appeals for the

5    Ninth Circuit pursuant to Rule 41(a) of the Federal Rules of Appellate Procedure issued in this

6    action. ECF 224.

7           3.      The parties have agreed that discussing the possibility of settlement may be

8    appropriate at this time.

9           4.      The parties have agreed that it would therefore be appropriate to stay this action

10   until December 31, 2023, or so long as the parties continue to agree that discussing the possibility

11   of settlement is appropriate.

12          5.       STIPULATION

13          Based on the above, IT IS HEREBY STIPULATED, by and between the parties to this

14   action that this action should be stayed until December 31, 2023, or until plaintiffs or defendants

15   notify this Court that they no longer believe settlement discussions will be fruitful.

16          IT IS SO STIPULATED.

17    DATED: October 24, 2023                             ALTSHULER BERZON LLP

18
                                                          By: s/ Stacey Leyton
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                                                          STACEY M. LEYTON
20                                                        Attorney for Defendants

21    DATED: October 24, 2023                             THE BECKET FUND FOR RELIGIOUS
                                                          LIBERTY
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23
                                                          By: s/ Danielle Blomberg
24                                                        DANIEL H. BLOMBERG
                                                          Attorney for Plaintiffs
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                                      STIPULATION AND ORDER
        Case 4:20-cv-02798-HSG Document 226 Filed 10/24/23 Page 4 of 4




1                                                   ORDER

2           Having considered the Stipulation filed by the parties, and good cause appearing

3    therefore, the Court hereby orders that the case shall be stayed until December 31, 2023, or until

4    one of the parties notifies the Court that it no longer believes settlement discussions will be fruitful.

5           PURSUANT TO STIPULATION, IT IS SO ORDERED.

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7    DATED: 10/24/2023

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10                                                THE HONORABLE HAYWOOD S. GILLIAM, JR.

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                                      STIPULATION AND ORDER
